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          MAXLINEAR COMMUNICATIONS LLC                                                                                                                              
           ACTIVE       HEADQUARTERS




            D-U-N-S Number: 92-864-1708




       Family Tree 




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             HQ         Maxlinear, Inc. 17-876-5702 Carlsbad, CA

                        HQ    Maxlinear Technologies Llc 11-812-8457 Carlsbad, CA

                        HQ    Maxlinear Asia Limited 86-577-0176 Labuan, Labuan

                       HQ    Exar Corporation 05-949-5325 San Jose, CA

                             HQ    Sipex Corporation 04-589-7097 Fremont, CA

                              S    Exar International Inc 79-619-6269 Fremont, CA

                              S    Startech Semiconductor, Inc. 05-801-6044 Fremont, CA

                              S    Integrated Memory Logic Limited 07-935-1674 San Jose, CA

                              S    Micro Power Systems, Inc. 92-947-3700 Fremont, CA

                              S    Cadeka Microcircuits, Llc 14-276-0540 Loveland, CO

                        HQ    Maxlinear Communications Llc 92-864-1708 Carlsbad, CA

                        HQ    Maxlinear Technologies Private Limited 87-320-2844 Bengaluru, KA

                         S    Nanosemi, Inc. 02-703-9381 Waltham, MA

                         S    Maxlinear Germany Gmbh 34-305-1932 München, BY

                         S    Physpeed Corporation 06-826-6237 Camarillo, CA

                         S    Maxlinear Austria Gmbh 30-059-4098 Villach, Kärnten




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